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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF VIRGINIA

                          Alexandria Division

  ESTEBAN SALGUERO-ORTIZ,            )
                                     )
        Petitioner,                  )
                                     )
              v.                     )     1:10cr191
                                     )     1:13cv326
                                     )
  UNITED STATES OF AMERICA,          )
                                     )
        Respondent.                  )


                   M E M O R A N D U M    O P I N I O N

           This matter is before the Court on Petitioner Esteban

Salguero-Ortiz’s (“Petitioner”) Motion to Vacate, Set Aside, or

Correct Sentence, pursuant to 28 U.S.C. § 2255 (“Motion”).

[Dkt. 429.]    For the following reasons, the Court will deny

Petitioner's Motion.

                             I.   Background

           Petitioner was one of fifteen people indicted in a

cocaine distribution scheme that involved importing cocaine from

Mexico and distributing it in Maryland, Northern Virginia,

Philadelphia, and elsewhere.       (Indictment [Dkt. 1] at 2-3.)

After a jury trial, Petitioner was convicted of conspiracy to

distribute five kilograms or more of cocaine, in violation of 21

U.S.C. §§ 841(a)(1), 846.      (Special Verdict Form [Dkt. 243] at

1-2.)   The evidence at trial established that Petitioner worked


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with a co-conspirator to accept at least two deliveries of

cocaine in Philadelphia.      (Gov’t Opp’n [Dkt. 436] at 3-4.)

Petitioner took possession of at least one of these shipments.

(Id.)

           On January 14, 2011, this Court found Petitioner

accountable for fifteen kilograms of cocaine and sentenced him

to 151 months' imprisonment, a sentence at the low end of the

advisory range.     (Judgment [Dkt. 281] at 1.)

           Petitioner subsequently appealed to the Fourth

Circuit, arguing that the evidence was insufficient to support

his conviction and this Court made several errors at sentencing.

On June 21, 2012, the Fourth Circuit affirmed Petitioner’s

conviction.     See United States v. Salguero-Ortiz, 483 F. App’x

858, 862 (4th Cir. 2012).

           Having exhausted direct review, Petitioner then filed

this action under 28 U.S.C. § 2255 seeking to vacate his

conviction. 1    (Pet’r’s Mot. to Vacate at 1.)       Liberally

construed, Petitioner’s Motion raises three claims: (1) the

Government engaged in misconduct by presenting false testimony


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   On May 24, 2013, Petitioner moved for leave to amend. (Pet’r’s Mot. to
Amend [Dkt. 438] at 1.) Having reviewed this motion and the amended petition
filed therewith, the Court finds that Petitioner merely seeks to supplement
his previously raised claims. Hence, Petitioner’s motion to amend will be
granted. See United States v. Frye, Criminal No. 3:07CR247–HEH, 2013 WL
3776308, at *1 (E.D. Va. July 17, 2013) (granting petitioner’s request to
amend where he merely sought to add “arguments with respect to the claims
[already] raised”). Petitioner’s supplemental arguments are now before the
Court. (See Pet’r’s Am. Mot. to Vacate [Dkt. 439].)


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at trial (“Claim One”); (2) this Court erred by failing to grant

a mitigating role reduction at sentencing (“Claim Two”); and (3)

trial counsel provided ineffective assistance by, among other

things, stipulating to several pieces of evidence (“Claim

Three”).   (Pet’r’s Mot. to Vacate at 4-7; Pet’r’s Am. Mot. to

Vacate at 2.)

           On May 3, 2013, the Government filed its Opposition.

[Dkt. 436.]    This matter is ripe for the Court's consideration.

                        II.   Standard of Review

           A motion to vacate, set aside, or correct sentence

under 28 U.S.C. § 2255 allows a prisoner to challenge the

legality of his sentence on four grounds: (1) “the sentence was

imposed in violation of the Constitution or laws of the United

States”; (2) “the court was without jurisdiction to impose such

sentence”; (3) “the sentence was in excess of the maximum

authorized by law”; or (4) the sentence is “otherwise subject to

collateral attack.”     28 U.S.C. § 2255(a).      The prisoner bears

the burden of demonstrating his grounds for relief by a

preponderance of the evidence.       See Hall v. United States, 30 F.

Supp. 2d 883, 889 (E.D. Va. 1998) (citation omitted).

           Nevertheless, a motion brought under § 2255 is not

intended to be a substitute for appeal.        Claims regarding trial

or sentencing errors that could have been, but were not, raised

on direct appeal are procedurally barred from review under §

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2255.   See Bousley v. United States, 523 U.S. 614, 622 (1998).

“Where a defendant has procedurally defaulted a claim by failing

to raise it on direct review, the claim may be raised in habeas

only if the defendant can first demonstrate either ‘cause’ and

actual ‘prejudice,’ . . . or that he is ‘actually innocent.’”

Id. (citations omitted).

           “Cause” is generally established by showing “some

objective factor external to the defense [which] impeded

counsel's efforts” to raise the claim on direct appeal.           Murray

v. Carrier, 477 U.S. 478, 488 (1986).        To demonstrate prejudice,

the petitioner must show “‘not merely that the errors at his

trial created a possibility of prejudice, but that they worked

to his actual and substantial disadvantage, infecting his entire

trial with error of constitutional dimensions.’”          McCarver v.

Lee, 221 F.3d 583, 592 (4th Cir. 2000) (quoting United States v.

Frady, 456 U.S. 152, 170 (1982)).        Finally, the miscarriage of

justice prong is satisfied by a showing of actual

innocence.   See United States v. Bryant, Criminal No.

3:04cr00047–1, 2013 WL 393334, at *3 (W.D. Va. Jan. 31, 2013)

(“Actual innocence means factual innocence, not mere legal

insufficiency.” (citation omitted)); see also House v. Bell, 547

U.S. 518, 536–37 (2006) (“[P]risoners asserting innocence as a

gateway to defaulted claims must establish that, in light of new

evidence, it is more likely than not that no reasonable juror

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would have found petitioner guilty beyond a reasonable doubt.”

(citations and internal quotation marks omitted)).

                              III.    Analysis

            A.   Defaulted Claims

            Because Petitioner could have, but neglected to, raise

Claims One and Two on direct appeal, these arguments are

procedurally defaulted.       See United States v. Baumgardner, No.

1:08CR00024–041, 2013 WL 4598066, at *2 (W.D. Va. Aug. 29, 2013)

(finding petitioner’s argument procedurally defaulted where

“[h]e failed to raise his claim at trial or on appeal and offers

no reason that he could not have done so”).           Petitioner has

failed to advance any viable argument regarding cause and

prejudice to excuse the default. 2         Likewise, Petitioner has made

no colorable showing that he is actually innocent of the

underlying criminal charges.         Accordingly, Claims One and Two

will be dismissed.      See Baumgardner, 2013 WL 4598066, at *2.

            B.   Ineffective Assistance of Counsel Claim

            Although claims not raised on direct appeal are

generally prohibited in a § 2255 proceeding, an exception


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   Petitioner’s contention that his default was the result of ineffective
assistance from counsel is unavailing. (Pet’r’s Am. Mot. to Vacate at 13.)
While ineffective assistance can excuse a procedural default, see Edwards v.
Carpenter, 529 U.S. 446, 451 (2000), Petitioner's argument fails because, as
discussed below, he has not asserted a meritorious claim that counsel was
ineffective. See United States v. Gavegnano, Criminal No. 3:05cr00017–1,
2012 WL 1884136, at *3 (W.D. Va. May 22, 2012) (noting that where a
petitioner cannot prevail on the merits of his ineffective assistance claim,
he cannot overcome a procedural bar by claiming ineffective assistance of
counsel).

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applies for claims of ineffective assistance of counsel.            See

United States v. Martinez, 136 F.3d 972, 979 (4th Cir. 1998).

To succeed on such a claim, a petitioner must show (1) that

“counsel's representation fell below an objective standard of

reasonableness,” and (2) “there is a reasonable probability

that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.”        Williams v. Taylor, 529

U.S. 362, 391 (2000) (quoting Strickland v. Washington, 466 U.S.

668, 688, 694 (1984)).      “The petitioner must show both deficient

performance and prejudice; the two are separate and distinct

elements of an ineffective assistance claim.”          Spencer v.

Murray, 18 F.3d 229, 232-33 (4th Cir. 1994).         If the petitioner

fails to meet either requirement, his claim necessarily fails.

Strickland, 466 U.S. at 700.

           With respect to the first prong of the Strickland

test, “[j]udicial scrutiny of counsel’s performance must be

highly deferential.”     Strickland, 466 U.S. at 689.       The Supreme

Court has elaborated on the deference due to counsel’s

performance, explaining that:

           A fair assessment of attorney performance
           requires that every effort be made to
           eliminate    the     distorting     effects    of
           hindsight, to reconstruct the circumstances
           of counsel’s challenged conduct, and to
           evaluate    the     conduct    from     counsel’s
           perspective at the time. Because of the
           difficulties     inherent    in     making    the
           evaluation, a court must indulge a strong

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            presumption that counsel’s conduct falls
            within    the    wide   range   of   reasonable
            professional     assistance;   that   is,   the
            defendant    must   overcome  the   presumption
            that,    under      the   circumstances,    the
            challenged action might be considered sound
            trial strategy.

Strickland, 466 U.S. at 689 (citations and internal quotation

marks omitted).     With respect to the second prong, “a reasonable

probability [of prejudice] is a probability sufficient to

undermine confidence in the outcome.”         Strickland, 466 U.S. at

694.

            In this case, Petitioner alleges that counsel provided

ineffective assistance by stipulating to “drug and fingerprint

evidence” and Petitioner’s identity on several wiretaps.

(Pet’r’s Am. Mot. to Vacate at 10-11.)          Petitioner argues that

this was not sound trial strategy because it significantly

lessened the Government’s burden. 3       (Id.)    As explained below,

Petitioner’s claim is meritless.

            First, Petitioner has not demonstrated that counsel's

performance in this regard was constitutionally deficient.              It

appears that counsel made a legitimate strategic choice to

challenge Petitioner’s involvement in the conspiracy rather than
3
 While not entirely clear, it appears that Petitioner also contends that
counsel provided ineffective assistance by conceding his participation in the
conspiracy. (Pet’r’s Am. Mot. to Vacate at 10.) The record, however, flatly
contradicts this argument. Counsel disputed Petitioner’s involvement in the
conspiracy throughout the trial. Accordingly, to the extent Petitioner’s
ineffective assistance claim is based on this argument, it is denied. See
Scott v. Heath, No. 1:10-CV-5307, 2011 WL 1753502, at *6 (E.D.N.Y. May 9,
2011) (rejecting petitioner's ineffective assistance claim on grounds that
his arguments were refuted by the record).

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the Government’s forensic evidence.        (Trial Tr. [Dkt. 349] at

579-85 (counsel’s closing argument disputing Petitioner’s

involvement in the conspiracy).)         As such, it was reasonable for

counsel to stipulate to this evidence rather than risk having

the Government’s forensic experts present harmful testimony to

the jury.   See Lemon v. United States, 335 F.3d 1095, 1096 (8th

Cir. 2003) (finding that defense counsel did not provide

ineffective assistance by agreeing to stipulate that the

controlled substance found in his apartment was crack cocaine;

counsel's decision was part of reasonable trial strategy in

which counsel sought to disprove element of possession rather

than drug type).    Although Petitioner is now unsatisfied with

this strategic decision, the record demonstrates that counsel’s

choice was reasonable.      Strickland, 466 U.S. at 690

(“[S]trategic choices made after a thorough investigation of law

and facts relevant to plausible options are virtually

unchallengeable.”); Goodson v. United States, 564 F.2d 1071,

1072 (4th Cir. 1977) (finding that courts are reluctant to

second guess counsel's strategic choices); Goins v. Angelone, 52

F. Supp. 2d 638, 663 (E.D. Va. 1999) (“The Strickland standard

mandates considerable deference to trial counsel's strategic

choices, whether or not those choices are ultimately

successful.”).



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            Petitioner has similarly failed to establish

prejudice.    Petitioner’s contention that the stipulations

discussed above changed the outcome of his case is premised upon

a misconception that the evidence against him was weak.             The

Government, however, presented a wealth of testimony connecting

Petitioner to the drug conspiracy.         (Gov’t Opp’n at 3-4

(summarizing evidence against Petitioner).)           In light of the

record, the Court cannot find, as Petitioner urges, that there

is a reasonable probability that the outcome of his trial would

have been different.

            Because Petitioner has failed to carry his burden of

proof under either prong of Strickland, Claim Three must also be

denied. 4




4
   Petitioner's Motion is replete with additional conclusory allegations
regarding counsel’s performance. For example, Petitioner alleges that
counsel was ineffective for omitting unidentified “non-frivolous issues” on
direct appeal. (Pet’r’s Am. Mot. to Vacate at 14.) These vague assertions
fall short of establishing a meritorious claim and do not entitle Petitioner
to relief. See United States v. Terry, 366 F.3d 312, 316 (4th Cir. 2004)
(“[C]onclusory allegations are insufficient to establish the requisite
prejudice under Strickland.”); United States v. Murray, Nos. 5:08-cv-80028,
5:04-cr-30016, 2008 WL 4179320, at *6 (W.D. Va. Sept. 10, 2008) (noting that
“generalized allegations and conclusory statements . . . without specific
evidentiary support, are insufficient to establish that counsel . . .
provided ineffective assistance in any way”).

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                             IV.   Conclusion

            For the foregoing reasons, the Court will deny

Petitioner’s Motion.      An appropriate Order will issue.



                                             /s/
October 3, 2013                           James C. Cacheris
Alexandria, Virginia            UNITED STATES DISTRICT COURT JUDGE




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